                  Case 1:20-cv-00267-LMB-IDD Document 1-1 Filed 03/10/20 Page 1 of 2 PageID# 14
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SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

, D      3/$,17,))6                                                                                           '()(1'$176
Ruth Smith, individually and on behalf of all others similarly situated                                      Cuisine Solutions, Inc.


     E &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII         Fairfax County, VA                             &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
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     F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                 $WWRUQH\V(If Known)
Law Office of Frank J. Driscoll Jr. PLLC, frank@driscolllawoffice.com
4669 South Blvd., Suite 107, Virginia Beach, VA 23452
Telephone: 757-321-0054
,,%$6,62)-85,6',&7,21(Place an “X” in One Box Only)                                     ,,,&,7,=(16+,32)35,1&,3$/3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                                               and One Box for Defendant)
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u  86*RYHUQPHQW                 u  'LYHUVLW\                                               &LWL]HQRI$QRWKHU6WDWH                  u          u        ,QFRUSRUDWHGand3ULQFLSDO3ODFH                   u          u 
        'HIHQGDQW                            (Indicate Citizenship of Parties in Item III)                                                                             RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                                   &LWL]HQRU6XEMHFWRID                   u          u        )RUHLJQ1DWLRQ                                     u          u 
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                                          28 U.S.C. 1332(d), Class Action Fairness Act
9,&$86(2)$&7,21                     %ULHIGHVFULSWLRQRIFDXVH
                                          Breach of express warranty, unjust enrichment, and VCPA violations related to nutrition label misrepresentation
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03/06/2020                                                             /s/ Francis J. Driscoll, Jr.
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                Case 1:20-cv-00267-LMB-IDD Document 1-1 Filed 03/10/20 Page 2 of 2 PageID# 15
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         'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODUDPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
         -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG

9,,, 5HODWHG&DVHV7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IWKHUHDUHUHODWHGSHQGLQJFDVHVLQVHUWWKHGRFNHW
       QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV

'DWHDQG$WWRUQH\6LJQDWXUH'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
